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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION


       ITED STATES OF AMERICA

                                                              CASE NO. 8:Ol -cr-I 10-T-23TGW

    NOEL NAVEJAR
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                                                   ORDER

           On March 5, 2007, the United States Probation Office filed a February 27, 2007,

    petition for revocation of the defendant's supervised release (Doc. 221): At the hearing

    on April 2, 2007, Assistant United States Attorney Lee Bentley represented the United

    States and Assistant Public Federal Defender Laurel Moore represented the defendant.

           The defendant admits committing the four Grade C violations described in

    numbered paragraphs one through four of the petition. Accordingly, the court adjudges

    the defendant guilty of violating the terms of his supervised release, and the

    defendant's term of supervised release is REVOKED. In consideration of the factors

    specified in 18 U.S.C. § 3553(a), including applicable guidelines and policy statements

    issued by the United States Sentencing Commission, the defendant is sentenced to

    eight (8) months of imprisonment with no supervised release to follow.

           The defendant's oral motion for furlough is GRANTED. On April 2, 2007, the

    United States Marshal shall release the defendant at 12:OO p.m. or as soon thereafter

    as possible. The defendant shall surrender to the United States Marshal to commence


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            The defendant having pled guilty to count four of an indictment, the court imposed a sentence on
    October 10, 2001, of seventy months of imprisonment and forty-eight months of supervised release.
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    service of his sentence by 12:OO p.m. on April 4, 2007, as directed by the United States

    Marshal.

          ORDERED in Tampa, Florida, on                                         ,2007




                                                    Steven D. Merryday
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                                              UNITED STATES DISTRICT JUDGE

    cc:    United States Marshal
           United States Probation
           Counsel of Record
